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Her substantial responsibilities include single-handedly managing the entire office and warehouse, including, but
not limited to:

    •    Fulfilling all internet and phone orders (Jenkins Inc. has been selling online for two decades and handles
         about $1 million in sales annually).
    •    Tracking all product shipments.
    •    Communicating with customers daily by phone and email.
    •    Issuing credits for purchases, handling returns, rectifying damaged shipments, pursuing lost deliveries.
    •    Maintaining inventory.
    •    Daily direct communication with our suppliers (we distribute for approximately 26 manufacturers).
    •    Offloading tractor trailer deliveries with forklift.
    •    Cleaning and organizing the stock room and warehouse.
    •    Cleaning and organizing the outdoor stock yard, including weeding around pallets or slate piles.
    •    Maintaining flower and ornamental beds around the office or anywhere on our site in public view,
         including weeding, pruning, planting, applying compost, and mulching.
    •    Providing organizational and hosting services (e.g., making coffee, setting out place holders, registering
         students, handling the registration fees, and so on) for meetings, instructional classes, and board retreats.
    •    Answering the phone for the non-profit organization whose office we host (Slate Roofing Contractors
         Association of North America Inc.).
    •    Assisting with non-profit membership renewals, including emails and phone calls.
    •    Interfacing with the postal service, which handles most of our small packages, including taking packages
         to the post office, when necessary.
    •    Assisting with banking business, primarily delivering checks to four separate banks for deposit.
    •    Running errands as needed, including picking up office products and supplies, obtaining workshop
         supplies and agricultural materials.
    •    Assisting in compost production and utilization.
    •    Jenkins Inc. hosts international conferences, community events, and social gatherings. Rachel is expected
         to attend and help manage these as well.

I have known Rachel Powell since May of 2019. I can attest to her character and integrity. Accusations that she
may be a threat to the community are laughable and false. Anyone can see from the information in this letter that
she has her hands full with her job. Add to these responsibilities the homeschooling of four of her eight children.
Consider the weight of the politically motivated criminal charges that she has been burdened with due to her
participation in the January 6th election fraud protests. It should be obvious that any harassment of Ms. Powell for
conducting her daily business responsibilities would be cruel and uncalled for.

Sincerely,




Joseph C. Jenkins, President, Joseph Jenkins Inc.
